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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

H-D U.S.A., LLC,
                                                    Case No. 19-cv-02710
               Plaintiff,
                                                    Judge Sharon Johnson Coleman
v.
                                                    Magistrate Judge M. David Weisman
HAPPYMOTO, et al.,
               Defendants.


                               SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on July 9, 2019 [48], in favor of

H-D U.S.A., LLC (“Harley-Davidson” or “Plaintiff”) and against the Defendants Identified in

Schedule A in the amount of five hundred thousand dollars ($500,000) per Defaulting Defendant,

and Harley-Davidson acknowledges payment of an agreed upon damages amount, costs, and

interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendants:

               Defendant Name                                         Line No.
                  gangzhu66                                              49
                  good4day                                               52
                  onlyyou99                                              89
                LED Car Lights                                          162

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 19th day of September 2019.   Respectfully submitted,

                                         /s/RiKaleigh C. Johnson
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                                         Justin R. Gaudio
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